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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA,

             Plaintiff,                               Case No. 15-20457
                                                      Hon. Matthew F. Leitman
v.

SHAWN PEARSON and
DWAYNE DUPREE

          Defendant.
_________________________________________________________________/

       ORDER GRANTING IN PART AND DENYING IN PART THE
     GOVERNMENT’S MOTION IN LIMINE REGARDING THE CROSS-
           EXAMINATION OF KIARA HOBBS (ECF #110)

       On October 4, 2016, the government filed a “Motion In Limine Regarding the

Cross-examination of Kiara Hobbs” (the “Motion”). (ECF #110.) The Court held a

hearing on the Motion on January 27, 2017. For the reasons stated on the record at

the January 27, 2017 hearing, the Motion is GRANTED IN PART and DENIED

IN PART. Defendants are permitted to elicit on cross-examination whether Kiara

Hobbs participated in a car-jacking, whether she was criminally charged for car-

jacking, whether she entered into a cooperation agreement with the government,

whether her car-jacking charge was dismissed, and whether she falsely held herself

out as a prostitute during the car-jacking. In response to this line of questioning, the

government may ask questions directed at clarifying the scope of Kiara Hobbs’ role
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in the car-jacking, but the government may not elicit testimony regarding the identity

of any other persons involved in the car-jacking. Prior to the time that Kiara Hobbs

testifies, the government shall advise her not to identify in any manner the other

individuals involved in the car-jacking. Kiara Hobbs is not permitted to disclose the

identity of any individual who participated in the car-jacking unless the Court

expressly allows her to do so.

      IT IS SO ORDERED.

                                       /s/Matthew F. Leitman
                                       MATTHEW F. LEITMAN
                                       UNITED STATES DISTRICT JUDGE

Dated: January 30, 2017



I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on January 30, 2017, by electronic means and/or ordinary
mail.

                                              s/Holly A. Monda
                                              Case Manager
                                              (313) 234-5113
